  6:19-cv-00302-JFH-SPS Document 169 Filed in ED/OK on 05/14/21 Page 1 of 4




                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF OKLAHOMA
JAMES EZELL, III,

                     Plaintiff,

vs.                                         Case No. CIV-19-302-JFH-SPS

JAMES YATES, et al.,

                     Defendants.


                 DEFENDANTS’ APPLICATION FOR EXTENSION
                      OF SCHEDULING ORDER DATES.


       COME NOW Defendants Ade, Bullock, Gentry, Hininger, Hoover, Keys, Patterson,

Perez, Pfaff, Pierce, Smith, Underwood, and Yates by and through their attorney of record,

Darrell L. Moore, OBA #6332, of J. Ralph Moore, P.C., and pursuant to LCvR 7.1(i),

they request this Honorable Court grant an extension of ninety (90) days from the present

dates within which to complete discovery and to file a Dispositive Motion.

       In support of this motion for additional time, Defendants respectfully state as

follows:

       1.     The current discovery deadline established by the Court is Monday,

November 30, 2020. The current deadline for filing of dispositive motions is June 15,

2021. See Minute Order, Docket Number 145.

       2.     Plaintiff appears pro se and is an inmate in the custody of the Oklahoma

Department of Corrections. Plaintiff is currently housed by the Oklahoma Department of

Corrections at Davis Correctional Facility, Holdenville, Oklahoma.



                                              1
  6:19-cv-00302-JFH-SPS Document 169 Filed in ED/OK on 05/14/21 Page 2 of 4




       3.      By minute Order dated April 20, 2021, Magistrate Judge Steven P. Shreder

granted Defendants’ Motion to depose Plaintiff. See Document Number 160.

       4.      Defendants then scheduled with a court reporter and staff at Plaintiff’s

present place of confinement the deposition of Plaintiff on May 13, 2021.

       5.      On May 10, 2021, Plaintiff filed a motion to stay Defendants’ deposition of

Plaintiff. See Document Number 162. According to Plaintiff he is in process of engaging

the services of an attorney to assist him at the deposition.

       6.      On May 12, 2021, the Court directed Defendants to respond to Plaintiff’s

Motion to Stay within seven (7) days. See Document Number 165.

       7.      As a result of Plaintiff’s Motion to Stay and the Court’s directive to

Defendants to respond to the Motion to Stay, Defendants did not proceed with the

scheduled deposition on May 13, 2021.

       8.      Defendants do not object to Plaintiff being given a reasonable amount of

time to attempt to hire an attorney to assist him at the deposition.

       9.      Plaintiff is not pending release from confinement. According to Oklahoma

DOC’s offender lookup webpage, Plaintiff’s controlling sentences will not be satisfied

until later this century.

       10.     An extension of ninety (90) days regarding each of the present deadlines is

necessary to allow Plaintiff a reasonable amount of time to engage the services of an

attorney and then for Defendants to re-schedule the deposition of Plaintiff and then to

prepare and file a Dispositive Motion.




                                              2
  6:19-cv-00302-JFH-SPS Document 169 Filed in ED/OK on 05/14/21 Page 3 of 4




      11.    This request would not disturb any trial date as there are no other deadlines

currently scheduled by the Court.

      12.    A proposed Order for this Court’s consideration is attached hereto.

      WHEREFORE, premises considered, Defendants respectfully request the Court

enter an Order granting this application for an extension and enlargement of time of

ninety (90) days of the currently set discovery cutoff and the Dispositive Motion

deadline.

                                    Respectfully submitted,
                                    Ade, Bullock, Gentry, Hininger, Hoover, Keys,
                                    Patterson, Perez, Pfaff, Pierce, Smith, Underwood, and
                                    Yates


                                    BY:
                                    Darrell L. Moore, OBA #6332
                                    P.O. Box 368
                                    Pryor, OK 74362
                                    Tele: (918) 825-0332//Fax: (918) 825-7730
                                    darrellmoore@jralphmoorepc.com
                                    Attorney for Defendants




                                              3
  6:19-cv-00302-JFH-SPS Document 169 Filed in ED/OK on 05/14/21 Page 4 of 4




                                   Certificate of Service

        I hereby certify that on May 14, 2021, I electronically transmitted the
attached document to the Clerk of Court using the ECF System for filing. Based on the
records currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to
the following ECF registrants:

       All Counsel of Record


 I hereby certify that on May 14, 2021, I served the attached document by regular US
Mail on the following, who are not registered participants of the ECF System:

James Ezell, III, DOC# 237370
Davis Correctional Facility
6888 E 133rd Rd
Holdenville, OK 74848-9033




                                           DARRELL L. MOORE




                                              4
